                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TENNESSEE

     GAIL HARNESS,                                        )
                                                          )
             Plaintiff,                                   )
                                                          )
                                                                           Case No. 3:18-cv-00100,
     v.                                                   )
                                                                                3:18-cv-00340
                                                          )
                                                                               Jury Demanded
     ANDERSON COUNTY, TENNESSEE,                          )
                                                          )
             Defendant.                                   )

                    PLAINTIFF’S PROPOSED SPECIAL JURY INSTRUCTIONS

          Plaintiff, Gail Harness, by and through counsel, submits the following proposed special jury

 instruction to be given to the jury at the close of all evidence.

          As a threshold matter, Plaintiff states that her counsel conferred with counsel for Defendant

 regarding special jury instructions. The Parties agree on the instructions proposed by Defendant

 under the Tennessee Human Rights Act claims, which conform to the Tennessee Pattern Civil Jury

 Instructions, and which have been provided to the Court through Defendant’s submissions. 1 The

 Parties could not, however, agree on the wording and elements regarding municipal liability in this

 case under § 1983 claim.

          It is the Plaintiff’s position that the jury should not be charged with “municipal liability,”

 because Jones’s conduct (by itself) makes Anderson County municipally liable under Monell,

 because Jones was a final policymaker and he was the one who engaged in the offending conduct,

 and because Defendant, as demonstrated by its summary judgment filings, has conceded the facts




 1
  Plaintiff’s only objection to Defendant’s proposed THRA instruction for retaliation is the use of the phrase “in the
 newly elected Anderson County Clerk of Court’s decision not to rehire her following his taking office.” (Def.’s
 Proposed Instructions at p. 3, Doc. 78.) This should read, simply, “Anderson County’s termination of Plaintiff’s
 employment,” because that is, in fact, what happened. Plaintiff was employed by Anderson County, working at a
 county-owned senior center before her termination.



Case 3:19-cv-00340-CLC-JEM Document 29 Filed 03/22/20 Page 1 of 7 PageID #: 80
 related to Jones’s status as a ‘final policymaker’/doer. So a jury charge regarding “policy or

 custom” only serves to confuse the questions the jury will decide.

     For these reasons, the first instruction that follows is the only instruction Plaintiff contends

 should be charged. The two subsequent instructions are examples of what Plaintiff would propose

 in the alternative, that is, in the event the Court disagrees and rules that municipal liability should

 be charged.




                                     2 Filed 03/22/20 Page 2 of 7 PageID #: 81
Case 3:19-cv-00340-CLC-JEM Document 29
   FOURTEENTH AMENDMENT: VIOLATION OF EQUAL PROTECTION CLAUSE

     The Fourteenth Amendment to the United States Constitution provides a clear right to be

 free from discrimination based on sex in public employment, and this extends to protection from

 sexual harassment. In order to prove that her right to be free from sex discrimination was

 violated, Plaintiff must prove the following things by a preponderance of the evidence that:

     1.   Plaintiff was subjected to sexualized words and conduct by William T. Jones;

     2.   The conduct was unwelcome;

     3.   The conduct occurred because of Plaintiff’s sex (female);

     4.   The conduct was sufficiently severe or pervasive that a reasonable person in Plaintiff’s

 position would find Plaintiff’s work environment to be hostile or abusive;

     5.   At the time the conduct occurred, Plaintiff believed that the conduct made her work

 environment hostile or abusive;

     6.   Defendant knew or should have known about Mr. Jones’s conduct; and

     7.   Defendant did not take reasonable steps to correct the situation or prevent the

 harassment from recurring.

     If you find that Plaintiff has proved by a preponderance of the evidence each of the

 things required of her, then you must find for Plaintiff. However, if Plaintiff did not prove

 by a preponderance of the evidence each of the things required of her, then you must find

 for Defendant.

 Authority: 7th Circuit Pattern Civil Jury Instruction, No. 3.04 (modified to case); see also
 Bohen v. City of E. Chicago, Ind., 799 F.2d 1180, 1185 (7th Cir. 1986) (“Sexual harassment of
 female employees by a state employer constitutes sex discrimination for purposes of the equal
 protection clause of the fourteenth amendment.”); Barry v. O’Grady, No. 2:14-CV-2693, 2017
 WL 1234048, at *11 (S.D. Ohio Mar. 31, 2017), appeal dismissed, 895 F.3d 440 (6th Cir. 2018)
 (stating elements of hostile work environment claim under Equal Protection Clause).




                                     3 Filed 03/22/20 Page 3 of 7 PageID #: 82
Case 3:19-cv-00340-CLC-JEM Document 29
                       MUNICIPAL LIABILITY: POLICY OR CUSTOM

     If you find that Plaintiff has proved a constitutional violation by a preponderance of the

 evidence, you must consider whether Anderson County is liable to Plaintiff. Anderson County is

 not responsible simply because it employed any particular official or employee. To succeed on

 this claim, Plaintiff must prove one of the following things by a preponderance of the evidence:

     1.    At the time Anderson County had a policy of not taking reasonable steps to correct

 sexual harassment by elected officials or by failing to prevent such harassment from occurring or

 recurring. The term “policy” means:

           •   A rule or regulation adopted by Anderson County;

           •   A custom that is persistent and widespread, so that it is Anderson County’s standard

               operating procedure; or

           •   A decision, act, or policy statement of William T. Jones,

     2.    The policy caused the constitutional violation alleged.

     If you find that Plaintiff has proved each of these things by a preponderance of the evidence,

 then you must decide for Plaintiff, and go on to consider the question of damages. If, on the other

 hand, you find that Plaintiff has failed to prove anyone of these things by a preponderance of the

 evidence, then you must decide for Defendant, and you will not consider the question of

 damages




 Authority: 7th Circuit Pattern Civil Jury Instruction, No. 7.24 (modified to case).



                                     4 Filed 03/22/20 Page 4 of 7 PageID #: 83
Case 3:19-cv-00340-CLC-JEM Document 29
  MUNICIPAL LIABILITY FOR FAILURE TO TRAIN, SUPERVISE OR DISCIPLINE

     To succeed on her claim against Anderson County for a policy of failure to train, supervise,

 or discipline its officers or employees, Plaintiff must prove each of the following things by a

 preponderance of the evidence:

     1.   Anderson County’s training program was not adequate to train its elected officials,

 officers, and employees to prevent or correct sexual harassment;

     2.   Anderson County knew that it was highly predictable that the alleged constitutional

 violation(s) in this case would occur without more or different training, adequate supervision, or

 discipline of its elected officials, officers, or employees, because there was a pattern of similar

 constitutional violations, or it was highly predictable even without a pattern of similar

 constitutional violations; and

     3.   Anderson County’s failure to provide adequate, training, supervision caused the alleged

 violation(s) of Plaintiff’s constitutional rights.

     If you find that Plaintiff has proved each of these things by a preponderance of the evidence,

 then you must decide for Plaintiff, and go on to consider the question of damages.




 Authority: 7th Circuit Pattern Civil Jury Instruction, No. 7.25 (modified to case); City of Canton,
 Ohio v. Harris, 489 U.S. 378, 389 (1989).



                                     5 Filed 03/22/20 Page 5 of 7 PageID #: 84
Case 3:19-cv-00340-CLC-JEM Document 29
                                     Respectfully submitted,


                                     /s/Richard E. Collins_________
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                                     Counsel for the Plaintiffs




                                     6 Filed 03/22/20 Page 6 of 7 PageID #: 85
Case 3:19-cv-00340-CLC-JEM Document 29
                                  CERTIFICATE OF SERVICE
      I hereby certify that I have this 23rd day of March 2020, filed a true and correct copy of the
 foregoing electronically. Notice of this filing will be sent by operation of the Court’s electronic
 filing system to all parties indicated on the electronic filing receipt. All other parties will be
 served by regular U.S. mail. Parties may access this filing through the Court’s electronic filing
 system.


                                               /s/Richard E. Collins
                                               Richard E. Collins




                                     7 Filed 03/22/20 Page 7 of 7 PageID #: 86
Case 3:19-cv-00340-CLC-JEM Document 29
